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                        IN THE UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION

CAROL A. WILSON, ADMINISTRATOR, et al.               :
                                                     :      Case No.: 2:18-cv-00041
v.                                                   :
                                                     :      Judge: Algenon L. Marbley
ROXANNE MARIE PROULX, et al.                         :
                                                     :      Magistrate Judge: Kimberly A.
                                                     :      Jolson
                                                     :
                                                     :

                ANSWER OF DEFENDANT LAWRENCE R. PROULX, JR.


       Comes now the Defendant, Lawrence R. Proulx, Jr. (“Proulx, Jr.”), by and through

counsel, and for his Answer to Plaintiff, Carol A. Wilson, Administrator (“Administrator”) and

Trustees of the Ohio Operating Engineers Pension Fund’s (“Trustees”), Complaint and states as

follows:

                                            PARTIES

       1.      Answering Defendant admits that upon information and belief, Trustees are the

duly appointed and acting trustees of the trust established as part of the Ohio Operating Engineers

Pension Fund (“Pension Fund”) in which his father, Lawrence R. Proulx, Sr. (“Proulx, Sr.”) was

a participant. The Defendant is without sufficient knowledge or information to either admit or deny

the remaining allegations contained in numerical paragraph 1 of the Complaint.

       2.      The Defendant is without sufficient knowledge or information to either admit or

deny the allegations contained in numerical paragraph 2 of the Complaint.

       3.      The Defendant admits that Roxanne Marie is (or was) an individual. The Defendant

is without sufficient knowledge or information to either admit or deny the remaining allegations

contained in numerical paragraph 3 of the Complaint, and therefore denies the same.
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        4.     The Defendant admits the allegations contained in numerical paragraph 4 of the

Complaint.

        5.     The Defendant admits the allegations contained in numerical paragraph 5 of the

Complaint.

        6.     The Defendant is without sufficient knowledge or information to either admit or

deny the allegations contained in numerical paragraph 6 of the Complaint, and therefore denies the

same.

                                       BACKGROUND

        7.     The Defendant admits the allegations contained in numerical paragraph 7 of the

Complaint.

        8.     The Defendant admits the allegations contained in numerical paragraph 8 of the

Complaint.

        9.     The Defendant is without sufficient knowledge or information to either admit or

deny the allegations contained in numerical paragraph 9 of the Complaint.

        10.    The Defendant is without sufficient knowledge or information to either admit or

deny the allegations contained in numerical paragraph 10 of the Complaint.

        11.    The Defendant is without sufficient knowledge or information to either admit or

deny the allegations contained in numerical paragraph 11 of the Complaint. The Defendant further

notes that the Pension Fund documents identified as Exhibit “A” were not attached to the

Complaint or to the courtesy copy received by the Defendant; so any references thereto in the

Complaint leave the Defendant without sufficient knowledge or information to either admit or

deny the allegations.




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       12.     The Defendant is without sufficient knowledge or information to either admit or

deny the allegations contained in numerical paragraph 12 of the Complaint.

       13.     The Defendant is without sufficient knowledge or information to either admit or

deny the allegations contained in numerical paragraph 13 of the Complaint.

       14.     The Defendant is without sufficient knowledge or information to either admit or

deny the allegations contained in numerical paragraph 14 of the Complaint.

       15.     The Defendant is without sufficient knowledge or information to either admit or

deny the allegations contained in numerical paragraph 15 of the Complaint.

       16.     The Defendant is without sufficient knowledge or information to either admit or

deny the allegations contained in numerical paragraph 16 of the Complaint.

       17.     The Defendant is without sufficient knowledge or information to either admit or

deny the allegations contained in numerical paragraph 17 of the Complaint.

       18.     The Defendant admits the allegations contained in numerical paragraph 18 of the

Complaint to the extent it relates to Proulx, Jr. as beneficiary of the death benefit. The Defendant

is without sufficient knowledge or information to either admit or deny the remaining allegations

contained in numerical paragraph 18 of the Complaint.

       19.     The Defendant is without sufficient knowledge or information to either admit or

deny the allegations contained in numerical paragraph 19 of the Complaint, and therefore denies

the same.

       20.     The Defendant is without sufficient knowledge or information to either admit or

deny the allegations contained in numerical paragraph 20 of the Complaint.

       21.      The Defendant denies that Roxanne Marie “Proulx” was ever married to Proulx,

Sr. The Defendant is without sufficient knowledge or information to either admit or deny the



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remaining allegations contained in numerical paragraph 21 of the Complaint. The Defendant

further notes that beneficiary designation document identified as Exhibit “B” was not attached to

the Complaint or to the courtesy copy received by the Defendant; so any references thereto in the

Complaint leave the Defendant without sufficient knowledge or information to either admit or

deny the allegations.

       22.     The Defendant admits the allegations contained in numerical paragraph 22 of the

Complaint.

       23.     The Defendant denies that Roxanne Marie “Proulx” was ever married to Proulx, Sr.

The Defendant is without sufficient knowledge or information to either admit or deny the

remaining allegations contained in numerical paragraph 23 of the Complaint.

       24.     The Defendant is without sufficient knowledge or information to either admit or

deny the allegations contained in numerical paragraph 24 of the Complaint.

       25.     The Defendant admits the allegations contained in numerical paragraph 25 of the

Complaint.

       26.     The Defendant is without sufficient knowledge or information to either admit or

deny the allegations contained in numerical paragraph 26 of the Complaint, and therefore denies

the same.

       27.     The Defendant is without sufficient knowledge or information to either admit or

deny the allegations contained in numerical paragraph 27 of the Complaint, and therefore denies

the same.

       28.     The Defendant is without sufficient knowledge or information to either admit or

deny the allegations contained in numerical paragraph 28 of the Complaint, and therefore denies

the same.



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       29.     The Defendant admits that he and Kenneth Proulx are entitled to equally share the

pre-retirement death benefit as beneficiaries. The Defendant is without sufficient knowledge or

information to either admit or deny the remaining allegations contained in numerical paragraph 29

of the Complaint.



                                 JURISDICTION AND VENUE

       30.     The Defendant admits the allegations contained in numerical paragraph 30 of the

Complaint.

       31.     The Defendant admits the allegations contained in numerical paragraph 31 of the

Complaint.

                                 COUNT ONE: 28 U.S.C. §1335
                                     INTERPLEADER

       32.     Answering Defendant adopts, reiterates, re-alleges, reaffirms, each and every

answer heretofore and hereinafter given in response to the allegations contained in numerical

paragraph 32 of the Complaint.

       33.     The Defendant denies that the Plaintiff is obligated to pay Proulx, Sr.’s surviving

spouse or beneficiary. Defendant admits that Plaintiff is obligated to pay death benefits to Proulx,

Sr.’s default beneficiaries, including Lawrence R. Proulx, Jr.

       34.     The Defendant denies the allegations contained in numerical paragraph 34 of the

Complaint.

       35.     The Defendant denies the allegations contained in numerical paragraph 35 of the

Complaint.

       36.     The Defendant admits the allegations contained in numerical paragraph 36 of the

Complaint.

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        37.      The Defendant is without sufficient knowledge or information to either admit or

deny the allegations contained in numerical paragraph 37 of the Complaint.

        38.      The Defendant is without sufficient knowledge or information to either admit or

deny the allegations contained in numerical paragraph 38 of the Complaint.


                                      COUNT TWO
                                 DECLARATORY JUDGMENT

        39.      Answering Defendant adopts, reiterates, re-alleges, reaffirms, each and every

answer heretofore and hereinafter given in response to the allegations contained in numerical

paragraph 39 of the Complaint.

        40.      The Defendant admits the allegations contained in numerical paragraph 40 of the

Complaint.

                                   AFFIRMATIVE DEFENSES

                               FIRST AFFIRMATIVE DEFENSE

        41.      Defendant respectfully requests and reserves the right to amend, alter, and/or

supplement the defenses contained in this answer as the facts and circumstances giving rise to

the Complaint become known to it through the course of the litigation.

        WHEREFORE, Defendant, Lawrence R. Proulx, Jr., demands the following relief:

        a)       That Judgment be entered for Defendant, Lawrence R. Proulx, Jr., for his portion

of the pre-retirement death benefit as Lawrence R. Proulx, Sr.’s child and living heir; and

        b)       For all other relief that the Court may deem the Defendant Lawrence R. Proulx,

Jr. to be entitled.

                                                       Respectfully Submitted,

                                                       /s/ Daniel A. Hunt
                                                       Daniel A. Hunt, Esq. (#0085871)

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                                                    Attorney for Lawrence R. Proulx, Jr.

                                CERTIFICATE OF SERVICE

       I, the undersigned Attorney, certify that a true and correct copy of the foregoing was
served on the 22nd day of March 2018 by regular U.S. mail, first class, postage prepaid, and by
email, where available, upon:

Daniel J. Clark, Esq.
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52 East Gay Street
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Attorney for Plaintiffs
Administrator and Trustees of the
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                                                    /s/ Daniel A. Hunt
                                                    Daniel A. Hunt, Esq.




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